         Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 1 of 6



                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________
                                          )
In the Matter of the                      )
Federal Bureau of Prisons’ Execution      )
Protocol Cases,                           )
                                          )
LEAD CASE: Roane et al. v. Barr           ) Case No. 19-mc-0145 (TSC)
                                          )
                                          )
THIS DOCUMENT RELATES TO:                 )
                                          )
Lee v. Barr, 19-cv-2559                   )
                                          )
______________________________________ )


             PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
                BARRING THE IMPLEMENTATION OF THE NEWLY
             ANNOUNCED FEDERAL LETHAL INJECTION PROTOCOL

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiff

Daniel Lewis Lee (“Lee”) hereby moves the Court to issue a preliminary injunction barring the

implementation of the federal lethal injection protocol announced in July 2019 (the “2019

Protocol”) pending the determination of Lee’s claims in this action or, at a minimum, until after

Lee has completed discovery relating to the 2019 Protocol.

       In promulgating the 2019 Protocol, the U.S. Department of Justice (“DOJ”) and the

Federal Bureau of Prisons (“BOP”) have exceeded their authority under the U.S. Constitution

and the Administrative Procedure Act (“APA”), 5 U.S.C. § 501 et seq.            Moreover, even

assuming that the DOJ and BOP acted within their authority, the 2019 Protocol also violates

other APA provisions because the DOJ and BOP ignored the notice-and-comment requirements

that are integral to the rule-making process. Instead, the 2019 Protocol was developed and

finalized in an arbitrary and capricious manner. The 2019 Protocol further suffers from several



                                               1
         Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 2 of 6



constitutional infirmities that are described in detail in the attached memorandum of points and

authorities, and it is likely that Lee will uncover additional evidence on these claims (and/or

other issues) through discovery. Accordingly, Lee has satisfied the first prong of this Circuit’s

standard for a preliminary injunction by showing a strong likelihood of success on the merits of

his claims in the Complaint.      Lee has also met the three other prongs of the standard by

demonstrating that (1) he will suffer irreparable injury in the absence of an injunction; (2) the

Defendants, by contrast, would not suffer “substantial harm” if the Court were to issue an

injunction; and (3) the issuance of an injunction would be in the public interest.

       In support of this motion, Lee relies upon the attached memorandum of points and

authorities and accompanying declaration. A proposed preliminary injunction order is also

attached. Oral argument is requested.

       Pursuant to Local Rule 7(m), the undersigned has conferred with counsel for the

Defendants on the relief sought in this motion and they have indicated that the Defendants will

oppose the motion.




                                                 2
        Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 3 of 6



Dated: September 27, 2019                Respectfully submitted,

                                         HOGAN LOVELLS US LLP


                                         /s/    Pieter Van Tol
                                         Pieter Van Tol (admitted pro hac vice)
                                         John D. Beck (admitted pro hac vice)
                                         Mallik Yamusah
                                         390 Madison Avenue
                                         New York, NY 10017
                                         (212) 918-3000
                                         (212) 918-3100 (fax)
                                         pieter.vantol@hoganlovells.com
                                         john.beck@hoganlovells.com
                                         mallik.yamusah@hoganlovells.com

                                         and

                                         Elizabeth M. Hagerty (Bar No. 1022774)
                                         David S. Victorson (Bar No. 1027025)
                                         Columbia Square
                                         555 13th Street NW
                                         Washington, DC 20004
                                         (202) 637-5600
                                         (202) 637-5910 (fax)
                                         elizabeth.hagerty@hoganlovells.com
                                         david.victorson@hoganlovells.com

                                         Attorneys for Plaintiff Daniel Lewis Lee




                                     3
         Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 4 of 6



                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 27, 2019, this Plaintiff’s Motion for a Preliminary

Injunction Barring the Implementation of the Newly Announced Federal Lethal Injection

Protocol was filed electronically using the Court’s CM/ECF system. Notice of this filing will be

sent by e-mail to all parties that are registered users. The below parties may access this filing

through the Court’s CM/ECF System.

Joshua Christopher Toll                            Paul F. Enzinna
KING & SPALDING, LLP                               ELLERMAN ENZINNA PLLC
(202) 737-8616                                     (202) 753-5553
Email: jtoll@kslaw.com                             Email: penzinna@ellermanenzinna.com

Charles Anthony Zdebski                            Brandon David Almond
ECKERT SEAMANS CHERIN &                            TROUTMAN SANDERS LLP
MELLOTT, LLC                                       (202) 274-2864
(202) 659-6605                                     Email: brandon.almond@troutmansanders.com
Email: czdebski@eckertseamans.com

Gerald Wesley King , Jr.                           Celeste Bacchi
FEDERAL DEFENDER PROGRAM, INC.                     OFFICE OF THE PUBLIC DEFENDER
(404) 688-7530                                     Capital Habeas Unit
Email: gerald_king@fd.org                          (213) 894-1887
                                                   Email: celeste_bacchi@fd.org

Craig Anthony Harbaugh                             Donald P. Salzman
FEDERAL PUBLIC DEFENDER, CENTRAL                   SKADDEN, ARPS, SLATE, MEAGHER &
DISTRICT OF CALIFORNIA                             FLOM LLP
(213) 894-7865                                     (202) 371-7983
Email: craig_harbaugh@fd.org                       Email: Donald.salzman@skadden.com

Jonathan Charles Aminoff                           Alexander Louis Kursman
FEDERAL PUBLIC DEFENDER, CENTRAL                   OFFICE OF THE FEDERAL COMMUNITY
DISTRICT OF CALIFORNIA                             DEFENDER/EDPA
(213) 894-5374                                     (215) 928-0520
Email: jonathan_aminoff@fd.org                     Email: alex_kursman@fd.org

Billy H. Nolas                                     Kathryn B. Codd
FEDERAL COMMUNITY DEFENDER                         VINSON & ELKINS, L.L.P.
OFFICE FOR THE EDPA                                (202) 639-6536
(215) 928-0520                                     Email: kcodd@velaw.com
Email: billy_nolas@fd.org



                                               4
        Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 5 of 6




Jeanne Vosberg Sourgens                  Robert E. Waters
VINSON & ELKINS L.L.P                    KING & SPALDING, LLP
(202) 639-6633                           (202) 737-0500
                                         Email: rwaters@velaw.com

William E. Lawler , III                  Yousri H. Omar
VINSON & ELKINS LLP                      VINSON & ELKINS LLP
(202) 639-6676                           (202) 639-6500
Email: wlawler@velaw.com                 Email: yomar@velaw.com

Margaret O’Donnell                       Abigail Bortnick
(502) 320-1837                           KING & SPALDING LLP
Email: mod@dcr.net                       (202) 626-5502
                                         Email: abortnick@kslaw.com

William E. Hoffmann , Jr.                Mark Joseph Hulkower
KING & SPALDING, LLP                     STEPTOE & JOHNSON LLP
(404) 572-3383                           (202) 429-6221
                                         Email: mhulkower@steptoe.com

Matthew John Herrington                  Robert A. Ayers
STEPTOE & JOHNSON, LLP                   STEPTOE & JOHNSON LLP
(202) 429-8164                           (202) 429-6401
Email: mherrington@steptoe.com           Email: rayers@steptoe.com

Denise M. Clark                          Peter S. Smith
U.S. ATTORNEY'S OFFICE FOR THE           UNITED STATES ATTORNEY'S OFFICE
DISTRICT OF COLUMBIA                     Appellate Division
(202) 252-6605                           (202) 252-6769
Email: denise.clark@usdoj.gov            Email: peter.smith@usdoj.gov

Jean Lin                                 Robert J. Erickson
U.S. DEPARTMENT OF JUSTICE, CIVIL        U. S. DEPARTMENT OF JUSTICE
DIVISION                                 (202) 514-2841
FEDERAL PROGRAMS BRANCH                  Email: robert.erickson@usdoj.gov
(202) 514-3716
Email: jean.lin@usdoj.gov

Amy Gershenfeld Donnella                 Joseph William Luby
FEDERAL COMMUNITY DEFENDER               FEDERAL PUBLIC DEFENDER/EDPA
OFFICE FOR THE EDPA                      (215) 928-0520
(215) 928-0520                           Email: joseph_luby@fd.org
Email: amy_donnella@fd.org




                                     5
        Case 1:19-mc-00145-TSC Document 13 Filed 09/27/19 Page 6 of 6



Gary E. Proctor                          Robert L. McGlasson
LAW OFFICES OF GARY E. PROCTOR,          MCGLASSON & ASSOCIATES, PC
LLC                                      (404) 314-7664
(410) 444-1500                           Email: rlmcglasson@comcast.net
Email: garyeproctor@gmail.com

Shawn Nolan                              Sean D. O'Brien
FEDERAL COMMUNITY DEFENDER               PUBLIC INTEREST LITIGATION CLINIC
OFFICE, EASTERN DISTRICT OF PENN         (816) 363-2795
(215) 928-0528                           Email: dplc@dplclinic.com
Email: shawn.nolan@fd.org


Date: September 27, 2019                 /s/ Pieter Van Tol
                                         Pieter Van Tol (admitted pro hac vice)
                                         HOGAN LOVELLS US LLP
                                         390 Madison Avenue
                                         New York, NY 10017
                                         (212) 918-3000
                                         (212) 918-3100 (fax)
                                         pieter.vantol@hoganlovells.com

                                         and

                                         Elizabeth M. Hagerty (Bar No. 1022774)
                                         David S. Victorson (Bar No. 1027025)
                                         HOGAN LOVELLS US LLP
                                         555 Thirteenth Street, NW
                                         Washington, DC 20004
                                         Telephone: (202) 637-5600
                                         Facsimile: (202) 637-5910
                                         elizabeth.hagerty@hoganlovells.com
                                         david.victorson@hoganlovells.com

                                         Attorneys for Plaintiff Daniel Lewis Lee




                                     6
